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 5   Attorney for Defendant, GARRY SAMPSON

 6

 7

 8                                     UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                         CASE NO. 1:16-cr-00176-DAD-BAM

12                        Plaintiff,

13            v.                                        STIPULATION AND ORDER TO
                                                        CONTINUE THE SENTENCING
14    GARRY SAMPSON,                                    HEARING FOR DEFENDANT GARRY
                                                        SAMPSON FROM OCTOBER 22, 2018 TO
15                        Defendant.                    NOVEMBER 5, 2018 AT 10:00 AM.

16

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18

19           IT IS HEREBY STIPULATED by and between the Defendant, GARRY SAMPSON,

20   his attorney of record, CAROL ANN MOSES, and the attorney for the government

21   CHRISTOPHER D. BAKER, that the Sentencing Hearing in the above-captioned matter

22   currently scheduled for October 22, 2018 at 10:00 AM be continued until November 5, 2018 at

23   10:00 AM.

24           Defense Counsel has encountered a time of personal hardship as her mother is currently in

25   hospice care. Defense Counsel will not be prepared for Mr. Sampson’s sentencing on the

26   originally scheduled date as a large portion of her energy is being devoted to her mother at this

27   time.

28   ///

     STIPULATION AND PROPOSED ORDER TO
     CONTINUE THE SENTENCING
     HEARING TO NOVEMBER 5, 2018                                                                         1
     Case 1:16-cr-00176-ADA-BAM Document 154 Filed 10/16/18 Page 2 of 2


 1           Assistant United States Attorney Christopher Baker does not oppose this request for a

 2   continued Sentencing Hearing for Mr. Sampson.

 3           Defense Counsel respectfully requests that the Court grant the Stipulation and Proposed

 4   Order to Continue the Sentencing Hearing to November 5, 2018 at 10:00 AM.

 5

 6   Dated: October 13, 2018                              /s/ Carol Ann Moses
                                                          CAROL ANN MOSES
 7                                                        Attorney for Defendant,
                                                          GARRY SAMPSON
 8

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10
     Dated: October 13, 2018                              /s/ Christopher Baker
11                                                        CHRISTOPHER D. BAKER
                                                          Assistant United States Attorney
12

13

14                                                ORDER

15           The Court accepts the above Stipulation and adopts its terms as the Order of this Court.
16   Accordingly, the October 22, 2018 Sentencing Hearing for Garry Sampson, Case 1:16-cr-00176-
     DAD-BAM, is continued to November 5, 2018 at 10:00 AM.
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18   IT IS SO ORDERED.
19
         Dated:     October 16, 2018
20                                                     UNITED STATES DISTRICT JUDGE

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     STIPULATION AND PROPOSED ORDER TO
     CONTINUE THE SENTENCING
     HEARING TO NOVEMBER 5, 2018                                                                        2
